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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

CHARLES E. ASKEW                                                                    PLAINTIFF

v.                               Case No. 4:19-CV-114 (DPM)

ROCK REGION METROPOLITAN;                                                       DEFENDANTS
TRANSIT AUTHORITY; CHARLES
FRAZIER; CHARLES JACKSON;
DONNA BOWERS; and WILSON VAUGHN

                  BRIEF IN SUPPORT OF EXPEDITED MOTION FOR
                      RESTRAINING ORDER AND SANCTIONS

       Defendants Rock Region Metropolitan Transit Authority (“METRO”), Charles Frazier,

Donna Bowers, Charles Jackson Wilson Vaughn (collectively, “Defendants”), by and through their

undersigned counsel, CROSS, GUNTER, WITHERSPOON & GALCHUS, P.C., and for their Brief in

Support of Expedited Motion for Restraining Order and Sanctions, state:

                                     I.     INTRODUCTION

       On April 23, 2019, Plaintiff Charles Askew—in the course of pursuing a pernicious

campaign of telephone harassment against multiple named Defendants—threatened to kill Charles

Frazier. Mr. Askew specifically made this threat in the course of placing one out of one-hundred

thirty-five (135) telephone calls to Mr. Frazier during the period of April 18, 2019 and April 25,

2019. Plaintiff is already the subject of a no-contact order that prevents him from contacting at

least one METRO employee and from entering one of its properties. Defendants respectfully and

urgently request that the Court enter a reciprocal Order prohibiting Plaintiff from contacting any

METRO employee or property, together with severe and terminating sanctions.
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                                         II.       FACTUAL BACKGROUND1

        Mr. Askew, a former passenger of METRO’s transit services, has a history of making

serious threats against METRO’s employees. For instance, in June 2017, Mr. Askew threatened to

“go homicidal” on METRO’s employees after bragging about allegedly “beating” murder charges.

ECF No. 2, at P. 13. In October 2018, after a METRO operator asked Mr. Askew not to disrobe

on the bus, Mr. Askew threatened to kill the operator. Id. at P. 12. More recently, on March 22,

2019, Mr. Askew concluded his Response to Defendants’ Motion for More Definite Statement as

follows: “Justice or death[.] I mean it from the dept[h]s of my soul, F.B.I. Don’t play games,

they know [I] am mad.” ECF No. 21, at P. 8 (emphasis added).

        Currently, Mr. Askew faces criminal charges for disorderly conduct, trespass, and

terroristic threatening in connection with actions he took against METRO and its employees

(including Floyd Bibbs, a bus operator) on March 2, 2019.2 Exhibit 1, Docket Report - State v.

Charles E. Askew, Case No. LRCR-19-1058 (Little Rock District Court – Criminal Division);

Exhibit 2, Police Report – Incident No. 2019-026560 (March 2, 2019). In connection with this

episode and the charges pending against him, the Judge Melanie Martin of the Little Rock District

Court issued a No-Contact Order prohibiting Plaintiff from (1) contacting Mr. Bibbs “directly or

indirectly, whether in person, by telephone, computer, mail, or any other means,” (2) possessing a

firearm or other weapon, and (3) entering METRO’s property located at 310 E. Capitol Avenue.

Exhibit 3, No-Contact Order.

        Apparently, neither the pending charges nor the No-Contact Order sufficiently deterred

Mr. Askew from engaging in a campaign of harassment, threats, and insults against METRO and


          1
            The Court previously acknowledged its familiarity with the parties’ “long-running dispute” (ECF No. 24,
at ¶ 3), and as such, this Section simply provides a summary of the most pertinent facts underlying this Motion.
        2
            Plaintiff’s criminal trial is currently set for May 9, 2019.


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its employees. Specifically, in the last week, Mr. Askew called METRO’s Executive Director,

Charles Frazier, on one-hundred thirty-five (135) separate occasions. Exhibit 4, Affidavit of

Charles Frazier; Exhibit 5, Contemporaneous Telephone Log of C. Frazier. Several calls,

belligerent and rife with obscenities, related to Plaintiff’s suspension from using METRO’s

services. Frazier Aff. ¶¶ 11–12. Others—similar in bellicosity—related to this litigation and to Mr.

Askew’s criminal trial. These calls were disruptive to METRO’s operations and obviously

concerning to Mr. Frazier. Id. at ¶ 11.

       In one call, however, Plaintiff threatened to kill Mr. Frazier. Id. at ¶ 13. This call was, and

is, frightening. Id. at ¶ 14. Defendants ask the Court to take expedited action to protect their persons

and property, and to issue appropriate, terminating sanctions against Mr. Askew’s lawsuit.

                                          III.   ARGUMENT

A.     The Court Should Enter a Restraining Order Under the Arkansas Workplace
       Prevention Statute Against Plaintiff on an Expedited Basis.

       In an effort to protect their health, safety, and wellbeing, Defendants—pursuant to the

Arkansas Workplace Violence Prevention (AWVP) statute—move for the entry of an order

restraining Plaintiff from contacting them (except through counsel) and/or from otherwise entering

their home and work-related properties. The AWVP’s substantively provides as follows:

               (a) If an employer or an employer's employee or invitee has:
                                                   ...
               (2) Received a threat of violence by an individual which can reasonably
               be construed as a threat which may be carried out at the work site as
               defined by § 5-13-301, terroristic threatening; § 5-38-202, threatening a
               catastrophe; §§ 5-13-204--5-13-207, assault; or §§ 5-26-304--5-26-306,
               domestic battering; or

               (3) Been stalked or harassed at the work site as defined by § 5-71-213,
               loitering; § 5-39-203, criminal trespass; § 5-71-208, harassment; or § 5-
               71-229, stalking,




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             the employer may, in addition to, or instead of, filing criminal charges
             against the individual, seek a temporary restraining order, a preliminary
             injunction, or an injunction under Arkansas Rule of Civil Procedure 65
             prohibiting further unlawful acts by that individual at the work site, which
             shall include any place at which work is being performed on behalf of the
             employer.

             (b)(1) Proof by a preponderance of the evidence of any action described in
             subsection (a) of this section shall constitute irreparable harm or damage to
             the employer or employer's employee or invitee.

             (2) Upon the granting of any restraining order, preliminary injunction, or
             injunction, the court may, among other appropriate orders:

                     (A) Order the defendant not to visit, assault, molest, or otherwise
             interfere with the employer or the employer's operations or the employer's
             employee or invitee at the employer's work site;

                     (B) Order the defendant to cease stalking the employer's employee
             or invitee at the employer's work site;

                   (C) Order the defendant to cease harassment of the employer or the
             employer's employee or invitee at the employer's work site;

                    (D) Order the defendant not to abuse or injure the employer,
             including the employer's property, or the employer's employee or invitee at
             the employer's work site;

                   (E) Order the defendant not to telephone the employer or the
             employer's employee or invitee at the employer's work site; or

                     (F) Such other necessary and appropriate relief as is deemed
             appropriate in the discretion of the court.
                                                   ...
             (d) Unless specifically modified or terminated by the issuing judge, all
             orders and injunctions issued under this section shall have statewide validity
             and may be enforced by the issuing court for any violation anywhere in the
             state and by any court of competent jurisdiction within the state for
             violations which may occur within that court's jurisdiction.
                                                   ...
             (f) Unless lack of good faith is shown by clear and convincing evidence, an
             employer and an employer's agents who act in accord with this section shall
             be presumed to be acting in good faith and are immune from civil liability
             for actions taken under this section.




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ARK. CODE ANN. § 11–5–115(a)-(f) (emphasis added). Under the Arkansas code, “harassment” is

defined as a person engaging in conduct or repeatedly committing “an act that alarms or seriously

annoys another person and that serves no legitimate purpose.” ARK. CODE ANN. § 5–71–208(a)(5).

       Plaintiff’s 135-obscenity-laced calling campaign against Mr. Frazier certainly satisfies the

AWVP’s requirements in order for the Court to restrain his conduct. As confirmed by Mr. Frazier’s

Affidavit, the phone calls were alarming and annoying, and—in the case of the death threat—

frightening. Frazier Aff. ¶ 13–14. The calls were not only limited to Mr. Frazier: Plaintiff has

repeatedly called Donna Bowers and, among others, Greg Williamson, METRO’s Director of

Operations and Human Resources Manager, respectively. Id.

       Accordingly, Defendants urgently request the Court to enter a no-contact restraining order

against Plaintiff pursuant to the AWVP, and require Plaintiff—in the event of any necessary

communication with Defendants regarding this litigation—to communicate only with their

undersigned counsel.

B.     The Court has Inherent Authority to Dismiss this Action for Plaintiff’s Serious Abuse
       of the Judicial Process.

       Plaintiff’s constant attempts to improperly influence this lawsuit (and potentially his

pending criminal litigation) by threatening Defendants and their employees are serious and

inexcusable abuses of the judicial process that must be addressed. Although the Federal Rules of

Civil Procedure do not squarely resolve the extraordinary and unusual circumstances of Plaintiff’s

misconduct, federal courts nevertheless possess certain “inherent powers,” not conferred by rule

or statute, “to manage their own affairs so as to achieve the orderly and expeditious disposition of

cases.” Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1186 (2017) (citing Link v.

Wabash Ry. Co., 370 U.S. 626, 630–31 (1962)). That authority includes “the ability to fashion an

appropriate sanction for conduct which abuses the judicial process.” Id. (citing Chambers v.



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NASCO, Inc., 501 U.S. 32, 44–45 (1991)). “Due to the very nature of the court as an institution, it

must and does have an inherent power to impose order, respect, decorum, silence, and compliance

with lawful mandates. This power is organic, without need of a statute or rule for its definition,

and it is necessary to the exercise of all other powers.” United States v. Shaffer Equip. Co., 11 F.3d

450, 461 (4th Cir. 1993).

        1.      Unrepresented Parties Are Subject to the Same Expectations of Decorum as
                All Other Litigants who Appear Before the Court.

        With respect to pro se litigants like Mr. Askew who engage in abusive litigation activity,

their status as unrepresented parties does not shield them from sanctions. See Garrett v. Selby

Connor Maddux & Janer, 425 F.3d 836, 841 (10th Cir. 2005) (the liberal pleading rules of afforded

to pro se practice is not a vehicle to file abusive documents because “pro se practice is a shield

against the technical requirements of a past age; it is not a sword with which to insult a trial judge”).

Courts have implemented a range of sanctions concomitant with the egregiousness of the

misconduct where pro se litigants offend the standards of decorum expected of all litigants

appearing before the Court. Where the misconduct is contained to abusive language in court

filings, district judges typically issue warnings about the consequences associated with repeated

violations. See e.g. Spears v. Warden FCI Williamsburg, 2016 WL 2935894, at *1 (D.S.C. May

20, 2016) (warning the pro se litigant that Rule 11 sanctions would be issued in the event of future

misconduct); Stebbins v. Stebbins, 2013 WL 3353865, at *3 (W.D. Ark. July 3, 2013), order

amended and superseded, 2013 WL 6182991 (W.D. Ark. Nov. 26, 2013), aff'd, 575 F. App'x 705

(8th Cir. 2014) (conditioning pro se litigant’s right to pursue other actions in the Western District

of Arkansas on meeting certain conditions, including an ongoing order prohibiting him from

“yell[ing] at court staff or us[ing] abusive language in any written or oral communication with

the Court or fellow litigants.”).



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       Where the conduct at issue is more extreme, courts do not shy away from imposing severe,

terminating sanctions. For instance, where a litigant sent letters to a U.S. Magistrate Judge that

were “filled with abusive language, insults, and attacks on the Magistrate Judge's character, fitness

for his judicial responsibilities, and religion[,]” the court properly dismissed the action with

prejudice. Koehl v. Bernstein, 740 F.3d 860, 862 (2d Cir. 2014); see also Payne v. Am. Corr. Ass'n,

667 F. App'x 149 (5th Cir. 2016). Terminating sanctions are also appropriate where the litigant

repeatedly engaged in abusive conduct in violation of prior court orders. See Stine v. Fetterhoff,

2009 WL 2848848, at *5 (D. Colo. Aug. 31, 2009) (where the plaintiff included abusive and

offensive language in his filings after being warned to refrain from that conduct, the court—

observing that the plaintiff “plainly . . . has no respect for the Court and the judicial process[,]”

dismissed the action with prejudice).

       In Kee v. R-G Crown Bank, for instance, the U.S. District Court for the District of Utah

considered dismissal with prejudice appropriate where the plaintiff, like Mr. Askew, made a

significant number of annoying and profanity-laced phone calls to the defendants in his lawsuit.

656 F. Supp. 2d 1348 (D. Utah 2009). Specifically, the plaintiff “began making frequent and

harassing phone calls to [Defendants’] employees . . . [and some of their] attorneys” after filing

the lawsuit. Id. at 1352. These numerous phone calls were often minutes apart, contained foul

language, and involved threats of bringing additional unfounded lawsuits against the defendants.

Id. Despite being advised that these contacts were inappropriate, he nevertheless continued

“hurl[ing] abuse” indiscriminately at those he contacted. Id. One of the defendants—like Mr.

Frazier in the case at bar—even warned the plaintiff that they could not speak directly because the

defendant was represented by counsel. Id. The plaintiff nevertheless ignored these warnings and

continued on with his profanity-laced telephone campaign, causing at least one employee to file a




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police report, and one law firm to hire private security. Id. at 1353. The district court, observing

that it had “inherent power to regulate the activities of abusive litigants by imposing carefully

tailored restrictions in appropriate circumstances,” found the sheer volume of the plaintiff’s calls—

which, like Mr. Askew’s, were often minutes apart—to be worthy of severe sanctions. Id. (citations

omitted). “Indeed, it is appropriate to issue an injunction to prevent harassing and abusive contacts,

including repeated phone calls and abusive writings.” Id. at 1353–54 (collecting cases). As a

consequence, the Court entered an order holding as follows:

               Based on the foregoing facts, and those facts submitted to the Court by the
               Defendants in support of their motions for injunction, the Court hereby
               ORDERS that the Plaintiff is enjoined from making any further direct
               contact, including, but not limited to, in person contact and contact by
               telephone, fax, and email with any of the Defendants or their Agents . .
               .. The Court finds Plaintiff's conduct is sufficiently abusive, offensive,
               outrageous, wrong, inappropriate, and completely improper under any rules
               of conduct associated with civil litigation in the United States courts that an
               injunction is required. Plaintiff is warned that he will be held in criminal
               contempt if he violates any part of this injunction, with
               potential sanctions including fines, paying Defendants' attorneys' fees and
               costs, and imprisonment.

               The Court further ORDERS, sua sponte, that based on Plaintiff's
               outrageous, offensive, and abusive behavior, this case is dismissed in its
               entirety. Plaintiff cannot do what he has done in this case and continue
               to be a litigant in this Court. Chambers v. NASCO, Inc., 501 U.S. 32, 44–
               45, 111 S.Ct. 2123, 115 L.Ed.2d 27 (1991) (“A primary aspect of [the
               Court's] discretion is the ability to fashion an appropriate sanction for
               conduct which abuses the judicial process.”) For that reason alone, aside
               from the Defendants' motions to dismiss, this case is DISMISSED on the
               basis of Plaintiff's personal outrageous and improper behavior.

Id. at 1354 (emphasis added).

       Like in Kee, the question for this Court to resolve whether Mr. Askew should be allowed

to continue litigating his claims against Defendants while also hurling abusive language and death

threats against them. As discussed below, Defendants urgently ask the Court to intervene and

dismiss this action.



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       2.      The Court Should Enter Severe, Terminating Sanctions as a Consequence of
               Plaintiff’s Extreme Misconduct Because No Lesser Sanction Would Serve the
               Twin Goals of Punishment and Deterrence Underlying the Imposition of
               Sanctions.

       Severe sanctions serve two important purposes in appropriate cases: they hold disobedient

plaintiffs like Mr. Askew accountable, and they deter other would-be bad actors from engaging in

similarly opprobrious conduct. Nat’l Hockey League v. Metro. Hockey Club, 427 U.S. 639, 642–

43 (1976) (per curiam) (holding that “the most severe in the spectrum of sanctions . . . must be

available to the district court in appropriate cases, not merely to penalize those whose conduct may

be deemed to warrant such a sanction, but to deter those who might be tempted to such conduct in

the absence of such a deterrent”). Though courts consider whether lesser sanctions other than

dismissal would be appropriate to serve the twin goals of accountability and deterrence, the court

is not “constrained to impose the least onerous sanction available, [and] may exercise its discretion

to choose the most appropriate sanction under the circumstances.” Mathers v. Abney, 2017 WL

2371135, at *1 (D.N.D. May 31, 2017) (quoting Keefer v. Provident Life and Acc. Ins. Co., 238

F.3d 937, 939 (8th Cir. 2000)).

       Dismissal with prejudice is proper where the Court, after “balancing the policy of giving

the plaintiff h[is] day in court against policies of . . . preserving respect for court procedures[,]”

finds that a litigant’s conduct was sufficiently egregious. Garrison v. Int’l Paper Co., 714 F.2d

757, 659–60 (8th Cir. 1983). “In striking this balance, all the facts and circumstances of the case

must be considered.” Id. (opining that the egregiousness of plaintiff’s conduct is the most

important factor for the court to consider).

       Here, in analyzing the proportionality of Defendants’ requested sanction—dismissal with

prejudice—against the conduct at issue, the Court should consider one simple question: is there

any excuse for Plaintiff’s offensive treatment of METRO’s staff and his death threats against Mr.



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Frazier? Defendants submit that there is no excuse for this conduct. His repeated, obscenity-laced

phone calls to METRO were solely within his own province, and he brazenly initiated this

harassment campaign despite the fact that he is already the subject of a no-contact order prohibiting

him from contacting some of METRO’s employees and from entering one of its properties; and

despite the fact that he has criminal charges pending against him for his earlier misconduct

(including for alleged terroristic threatening). Clearly, lesser sanctions will not suffice to prevent

Plaintiff from engaging in further willful, deliberate, and egregious misconduct.

       Accordingly, this Court, to both punish Plaintiff’s bad conduct and to deter others who

would so brazenly hurl death threats at their party opponents, should dismiss Plaintiff’s Complaint

with prejudice.

                                       IV.     CONCLUSION

       This was not the first occasion on which Mr. Askew threatened to kill METRO employees.

In June 2017, Mr. Askew threatened to “go homicidal” on METRO’s employees after bragging

about allegedly “beating” murder charges. ECF No. 2, at P. 13. In October 2018, he threatened to

kill METRO operator Johnnie Wesley after Mr. Wesley called the police to intercede when

Plaintiff was disrobing on a public bus. Id. at P. 12. On March 22, 2019, in his “Motion in Response

to Defendants,” Mr. Askew concluded his filing as follows: “Justice or death[.] I mean it from

the dept[h]s of my soul, F.B.I. Don’t play games, they know [I] am mad.” ECF No. 21, at P. 8

(emphasis added). Most recently, on April 23, 2019, Mr. Askew threatened to kill Mr. Frazier.

       Mr. Askew’s continuing telephone campaign demonstrates the extremes to which he will

go in harassing and disrupting METRO’s employees and operations. He has made an express death

threat against Mr. Frazier over the phone, and against Defendants in his March 22 filing.

Defendants respectfully request that the Court immediately issue a restraining order prohibiting




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Plaintiff from contacting METRO’s employees or from entering METRO’s properties or the

properties of its employees. The Court should similarly dismiss this litigation with prejudice as a

consequence for Plaintiff’s misconduct.

                                                     Respectfully submitted,

                                                     /s/ Alexander D. Clark
                                                     M. Stephen Bingham (ABA 83023)
                                                     Alexander D. Clark (ABA 2017112)
                                                     CROSS, GUNTER, WITHERSPOON
                                                       & GALCHUS, P.C.
                                                     500 President Clinton Avenue, Suite 200
                                                     Little Rock, Arkansas 72201
                                                     Phone: 501- 371-9999
                                                     Fax: 501-371-0035
                                                     sbingham@cgwg.com
                                                     aclark@cgwg.com


                                CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of April, 2019, I mailed by first class mail, postage
prepaid, the foregoing document to the following non-ECF registrant:

       Charles Askew
       3409 Avery Road
       Little Rock, AR 72209

                                                     /s/ Alexander D. Clark
                                                     Alexander D. Clark




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